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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,



                      v.
                                                               Hon. Hugh B. Scott


                                                                    07CR174A
 TAMMI WASHNUK and
 TIONA BROOK DUGAS,                                                 Report
                                                                      &
                                Defendants.                     Recommendation


       This matter has been referred to the undersigned pursuant to 28 U.S.C. § 636(b)(1)(C)

(Docket No. 3). The instant matter before the Court is defendant Tiona Dugas’ motion to dismiss

the Indictment on speedy trial grounds (Docket No. 141). She also seeks a Bill of Particulars and

discovery. The Government in its response seeks reciprocal discovery from Dugas (Docket

No. 19, Gov’t Response at 30-31). For convenience, these latter requests (which could be

considered in a separate Order) will be addressed in this Report & Recommendation.

                                        BACKGROUND

       Defendants are charged in a four-count Indictment, filed July 31, 2007, with importation

of controlled substances (on or about October 9, 2004), sale and distribution of controlled



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         In support of this motion, Dugas submits her motion, with her attorney’s Affirmation,
Docket No. 14; her Memorandum of Law, Docket No. 15; and her Reply Memorandum, Docket
No. 21. Her counsel also submitted a letter, dated April 19, 2013, updating this Court on the
status of United States v. Hong Wah Cheng, No. 05CR71, referenced by Dugas in this motion
and recently dismissed by this Court, see United States v. Cheng, No. 05CR71, Docket Nos. 45
(Report & Recommendation recommending dismissal), 53 (Order adopting Report).
        In response, the Government submits its Response, including exhibits, Docket No. 19.
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substances (on that same date), conspiracy to distribute (on or about that date), and attempted

conspiracy to import 500 grams or more of a mixture and substance containing

methamphetamine and MDMA (Docket No. 1, Indict.).

Timeline of Prosecution

       Given that Dugas objects to this Indictment on speedy trial and delay in prosecution

grounds, a review of the procedural history is in order. Dugas was arrested at the Rainbow

Bridge on October 9, 2004 (Docket No. 15, Def. Memo. at 2). A criminal Complaint was filed

against defendants on October 12, 2004, United States v. Washnuk, Dugas, 04MJ2186, Docket

No. 1. Dugas was released on bond on October 21, 2004 (Washnuk, 04MJ2186, Docket No. 9;

Docket No. 15, Def. Memo. at 2). This Complaint was dismissed on June 29, 2006, Washnuk,

04MJ2186, Docket No. 22; according to Dugas, plea negotiations between the parties had halted

and the Government agreed to dismiss the Complaint and would proceed to Indictment (Docket

No. 15, Def. Memo. at 2; cf. Docket No. 19, Gov’t Response at 5). Bail was returned on

November 14, 2006 (Washnuk, 04MJ2186, Docket No. 24). On July 31, 2007, the Government

filed a then-Sealed Indictment against these defendants (Docket No. 1), and an arrest warrant

issued. This case was unsealed on October 29, 2012, and defendants were arraigned (Docket No.

2). The criminal Complaint was never merged with this Indictment and no due diligence reports

were filed regarding efforts to locate and obtain Dugas.

       The Government claims that Dugas was a fugitive from August 2, 2007 (Docket No. 19,

Gov’t Response at 5). On November 13, 2008 (fifteen months later), the Office of the United

States Attorney for this District sought confirmation of Dugas’ address to prepare for her

extradition (id.). Immigration and Customs Enforcement (“ICE”) in its Buffalo office sought


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assistance of the ICE Attache in Toronto to verify Dugas’ address on November 19, 2008, and

again on July 21, 2009 (id., Ex. D). ICE then confirmed Dugas’ address in an apartment on

Garth Street, Hamilton, on December 3, 2009 (id., Ex. E, id. at 5-6).

       In July 2010, the United States Attorney’s Office informed ICE that a draft extradition

request was still with counsel for the Office of International Affairs (or “OIA”) and that the

United States Attorney was working on having it finalized (id. at 6, Ex. I, Ex. J). In February 8,

2011, ICE was informed that the extradition request was to be sent to the Office of International

Affairs for final approval (id. at 6, Ex. K). On March 7, 2011, the Office of International Affairs

requested from the United States Attorney’s Office that the final version of the extradition

package be reviewed and returned to OIA (id. at 6). After ICE answered the United States

Attorney’s question, on October 17, 2011, ICE inquired about the status of the extradition request

and the United States Attorney reported that the request was still pending with Canada (id.). On

November 14, 2011, the United States Attorney signed the extradition request (id. at 6-7).

       Based upon this request, Dugas was arrested on March 27, 2012 (id. at 7; see generally

Docket No. 21, Def. Reply at 3). After posting bond pending her extradition proceeding and an

extradition hearing, Dugas waived extradition on October 17, 2012, and on October 29, 2012,

she was transported into United States custody (Docket No. 15, Gov’t Response at 7).

       Dugas asserts that she resided in Hamilton, Ontario, since 1986, living at the Kennedy

Avenue address where she was arrested on the extradition warrant (Docket No. 15, Def. Memo.

at 1). She disputes being a fugitive during this time period (id. at 2).




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                                            DISCUSSION

I.        Speedy Trial and Delay in Prosecution

          A.     Standard

          The Sixth Amendment guarantees defendants the right “to a speedy . . . trial,” U.S. Const.

amend VI. Both parties agree (Docket No. 15, Def. Memo. at 3; Docket No. 19, Gov’t Response

at 10) that, in determining whether that right has been violated, courts consider several factors,

namely the length of the delay, the reason for the delay, whether defendant asserted her right to a

speedy trial, and the prejudice to defendant from the delay, Barker v. Wingo, 407 U.S. 514, 530

(1972); Doggett v. United States, 505 U.S. 647, 654, 656-57 (1992). If a delay is not

presumptively prejudicial, the remaining factors need not be considered, Barker, supra, 407 U.S.

at 530; Doggett, supra, 505 U.S. at 656; see also id. (length of delay is “part of the mix of

relevant facts, and its importance increases with the length of delay”). The Doggett Court stated

that “such is the nature of the prejudice presumed that the weight we assign to official negligence

compounds over time as the presumption of evidentiary prejudice grows. Thus, our toleration of

such negligence varies inversely with its protractedness, cf. Arizona v. Youngblood, 488 U.S. 51

(1988), and its consequent threat to the fairness of the accused’s trial.” Doggett, supra, 505 U.S.

at 657.

          B.     Application

          Dugas argues that first three factors weigh heavily in her favor and that prejudice is

presumed (Docket No. 15, Def. Memo. at 3).




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               1.      Length of Delay

       The parties dispute the duration of the delay and what portions of that period are

attributable as delay. Dugas argues that the delay was four years and eight months, from July 31,

2007, Indictment until her extradition arrest on March 7, 2012 (Docket No. 15, Def. Memo. at 2-

3; see Docket No. 19, Gov’t Response at 10), or 56 months. The Government argues that the

period is, at worst, 51 months (from the Indictment to the signed extradition request) or over 35

months (from the Indictment to when the Government commenced the extradition process with

the Office of International Affairs, using the July 2010 date when a draft extradition request was

circulated) (Docket No. 19, Gov’t Response at 10-11). But the Government’s description of the

initiation is vague as to a specific starting date, referring to the exchange of draft documents

between departments of the Executive Branch and no definitive end date is suggested. The

Government concedes that the 51-month delay would be deemed presumptively prejudicial (id. at

12), see Doggett, supra, 505 U.S. at 652 n.1 (delay approaching one year was presumptively

prejudicial); United States v. Vassell, 970 F.2d 1162, 1164 (2d Cir. 1989) (over eight months

commentators found were presumptively prejudicial).

       In United States v. Hong Wah Cheng, No. 05CR71, Magistrate Judge Schroeder rejected

the forwarding of draft extradition papers as sufficient as the end point for measuring the period

of trial delay in that case, finding that the period ended when formal extradition proceedings were

initiated, United States v. Cheng, No. 05CR71, 2013 WL 1704912, Docket No. 45, Report &

Recommendation at 10 (W.D.N.Y. Jan. 9, 2013) (Schroeder, Mag. J.), adopted, Docket No. 53,

Order of Apr. 19, 2013, at 2-3 (Arcara, J.) (see also Docket No. 15, Def. Memo. at 9-10).

Magistrate Judge Schroeder did not take the latter event of the arrest on the extradition warrant,


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issued about ten months later, Cheng, No. 05CR71, Docket No. 45, Report & Rec. at 3. As

Dugas notes in this case (Docket No. 15, Def. Memo. at 10), Cheng is distinguishable because

Cheng absconded after posting bail while Dugas had her original bail returned and was not under

any compulsion by the United States Government.

       This Court agrees and, in Dugas’ case, the end for the measure of delay here is November

14, 2011, when the extradition request was signed. Thus, there was 51 months of delay from the

sealed Indictment to formal initiation of extradition. Even if a shorter period as argued by the

Government is accepted, that period is almost three years long and can be deemed presumptively

prejudicial, as the longer period of 51 months.

               2.      Reason for Delay

       The Government argues that there was no evidence of a strategy to delay the trial in order

to hamper the defense to have this factor weigh against the Government (Docket No. 19, Gov’t

Response at 14). After outlining the bureaucratic steps leading to initiating the extradition

procedure (and Dugas’ arrest on the extradition warrant) (id. at 13-14, 5-7), the Government

concludes that its pursuit of Dugas “may not be ideal” (id. at 14), but there lacked proof of a

strategy of delay in order to hinder her defense and that this delay was “neutral” as mere

negligence (id. at 14, 15).

       Dugas argues that the Government failed to show due diligence in attempting to locate

her or to extradite her (Docket No. 15, Def. Memo. at 5-7).

       Dugas, however, need not show that the Government intended to delay to prejudice her.

Rather, this factor is to show whether the delay can be excused. If there was a deliberate attempt

to delay, the delay should be weighted against the Government, but a more neutral reason of


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negligence weighs less heavily “but nevertheless should be considered since the ultimate

responsibility for such circumstances must rest with the government rather than with the

defendant,” Barker, supra, 407 U.S. at 531, while a valid reason (such as a missing witness, id.,

or extradition from a foreign country) “should serve to justify appropriate delay,” id.

       Here, the asserted reason is the Government’s negligence. But most of the delay cited

above arises from Government inaction (the fifteen months before investigating Dugas’ current

location to commence extradition) or intra-agency (within the Department of Homeland Security,

or the Department of Justice between the United States Attorney and the Office of International

Affairs) or interagency correspondence (between and among these agencies). No valid reasons

were given for these delays, either in initiating investigations or extradition or for response times

between agencies. Thus, the reason for delay factor, even for the neutral reason of Government

negligence, favors Dugas.

               3.      Defendant’s Assertion of Right

       The Government relies upon Dugas’ awareness of these charges from the criminal

Complaint that was dismissed, concluding that she failed to invoke her right to a speedy trial

thereafter (Docket No. 19, Gov’t Response at 16). Dugas had her criminal Complaint dismissed

on June 29, 2006, a sealed Indictment was filed against her on July 31, 2007, and deemed a

fugitive two days later. She was not aware until her 2011 extradition arrest that she faced the

dismissed Complaint charges in the form of this sealed Indictment (see also Docket No. 15, Def.

Memo. at 5, 8). How could she be expected to invoke her right to a speedy trial of that charge if

she was not aware that she faced a trial at all? Dugas believed the case was over, given the

dismissal of the criminal Complaint and return of her bail (see id. at 10). While correctly


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asserting that the period between the dismissal of the criminal Complaint in June 2006 and filing

of the Indictment in the end of the following July was not chargeable delay (cf. Docket No. 19,

Gov’t Response at 10-11), that thirteen-month period cannot be now used by the Government as

a basis for Dugas asserting a speedy trial right she had no idea she would need to invoke, cf. 18

U.S.C. § 3161(d)(1), (b) (if charge contained in a complaint is dismissed, a subsequent charge for

the same conduct must be filed within thirty days of arrest or service of summons). Therefore,

the fact that Dugas did not invoke her speedy trial rights does not excuse the delay here.

               4.      Prejudice to Defendant

       Dugas argues, as previously stated, that finding the first three Barker factors in her favor

shows that prejudice is presumed (Docket No. 15, Def. Memo. at 3, see also id. at 8; Docket

No. 21, Def. Reply Memo. at 6), Doggett, supra, 505 U.S. at 658; United States v. Hernandez,

457 F.3d 416, 421 (5th Cir. 2006). This Court agrees; the other Barker factors clearly show that

the delay in prosecuting Dugas was prejudicial.

               5.      Summary

       As a result of the consideration above of the Barker factors, Dugas was presumptively

prejudiced by this fifty-one month delay. This Court recently encountered a speedy trial issue,

United States v. Phalom, 08CR6, Docket No. 32, Report & Rec.; see also Docket No. 33, Def.

Objections. In that case, this Court noted that the Sixth Amendment speedy trial guarantee is

“‘an important safeguard to prevent undue and oppressive incarceration prior to trial, to minimize

anxiety and concern accompanying public accusation and to limit the possibilities that long delay

will impair the ability of the accused to defend himself.’ United States v. Ewell, 383 U.S. 116,

120 (1966), . . . ,” United States v. Marion, 404 U.S. 307, 320 (1971). “Inordinate delay between


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arrest, indictment, and trial may impair a defendant’s ability to present an effective defense,” id.

Phalom, Docket No. 32, Report & Rec., at 4-5. The issue in Phalom was the when the speedy

trial period started given the facts of that case, id. at 42. In Phalom, due diligence reports were

filed on a regular basis after that defendant became a fugitive, id. at 2-3.

        In the present case, there were no due diligence reports filed for sealed Indictment, no

initial declaration defendant was a fugitive. The only record of the Government’s efforts to

locate and extradite Dugas came in the Government’s response to the motion to dismiss,

revealing the interagency and intra-agency traffic within ICE and the Department of Justice and

between these two agencies.

        The Indictment (Docket No. 1) in this case, therefore, should be dismissed and Dugas’

motion for that relief (Docket No. 14) should be granted.

        Should this Recommendation not be accepted, and for a complete record, this Court next

considers Degas’ Bill of Particulars and discovery requests.

II.     Bill of Particulars

        Dugas next demands that the Government file a Bill of Particulars (Docket No. 14, Def.

Motion, Schedule 2), seeking disclosure of her particular conduct and identity of unnamed co-

conspirators (id.). She contends that the Indictment “has only broadly generalized accusations

against her with little or no detail” (id., Def. Atty. Affirm. ¶ 5).




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          This Court found that the starting period for speedy trial analysis was when Phalom was
indicted and not when he was charged in a criminal Complaint, id. at 4-6. Given the due
diligence reports filed with this Court, the Report concludes that there was no unconstitutional
delay, id. at 7, and the Report recommended denying Phalom’s motion to dismiss the Indictment,
id. at 9.

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       Rule 7(f) of the Federal Rules of Criminal Procedure provides that the Court may direct

the filing of a Bill of Particulars. The Government opposes these requests because most of the

information sought particularized is presented in voluntary discovery and in the criminal

Complaint or is information beyond the scope of a Bill of Particulars (e.g., Docket No. 19, Gov’t

Response at 27).

       Bills of Particulars are to be used only to protect a defendant from double jeopardy, to

enable adequate preparation of a defense and to avoid surprise at trial. United States v. Torres,

901 F.2d 205 (2d Cir. 1990). The Government is not obligated to “preview its case or expose its

legal theory,” United States v. LaMorte, 744 F. Supp. 573 (S.D.N.Y. 1990); United States v.

Leonelli, 428 F. Supp. 880 (S.D.N.Y. 1977); nor must it disclose the precise “manner in which

the crime charged is alleged to have been committed,” United States v. Andrews, 381 F.2d 377

(2d Cir. 1967). Notwithstanding the above, there is a special concern for particularization in

conspiracy cases, United States v. Davidoff, 845 F.2d 1151 (2d Cir. 1988), but the Government

need not prove overt acts in furtherance of the conspiracy, United States v. Knuckles, 581 F.2d

305, 311 (2d Cir.), cert. denied, 439 U.S. 986 (1978), or particularize on the facts surrounding the

formation of the conspiracy or when a given defendant joins it, United States v. Iannelli,

53 F.R.D. 482 (S.D.N.Y. 1971) (id. ¶ 29). While it is within this Court’s sound discretion to

order the filing of a Bill of Particulars, Wong Tai v. United States, 273 U.S. 77, 82 (1927), the

burden is upon defendants to show that non-disclosure of the requested particulars would lead to

prejudicial surprise at trial or would adversely affect defendants’ rights, id. (Docket No. 55,

Gov’t Atty. Aff. ¶ 24). Any particularization confines the Government’s proof to the particulars




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furnished, United States v. Glaze, 313 F.2d 757, 759 (2d Cir. 1963); United States v. Murray,

297 F.2d 812, 819 (2d Cir.), cert. denied, 369 U.S. 828 (1962) (id. ¶ 27).

         Upon review of the Indictment and the extent of discovery produced in this case to

defendants, this Court finds that Avery is not entitled to a Bill of Particulars from the

Government here inasmuch as he is sufficiently advised of the charges against him to allow for

the proper preparation of a defense, to avoid surprise at trial, and to protect the defendant from

double jeopardy.

III.     Discovery

         Dugas next seeks discovery. While acknowledging that she received voluntary discovery

(Docket No. 14, Def. Atty. Affirm. ¶ 6), Dugas is seeking an inventory of documents that has not

been disclosed (Docket No. 15, Def. Memo. at 22). For example, Dugas wants results (from

underlying documentation) as well as reports from scientific testing (Docket No. 15, Def. Memo.

at 23). The Government responds that in general it has complied fully with its discovery

obligations to each defendant (Docket No. 19, Gov’t Response at 19), detailing production to

date and intended to be furnished (id. at 19-26).

         Although there is no general constitutional right to pretrial discovery in a federal criminal

case, a defendant does have a pretrial discovery right with respect to certain matters. For

example, under the Fifth Amendment’s due process clause, a defendant is entitled to specific

exculpatory evidence which is material either to guilt or punishment. In addition, the

government has certain disclosure obligations under Rule 16 of the Federal Rules of Criminal

Procedure and the Jencks Act, 18 U.S.C. § 3500.




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III.     Government’s Motion for Reciprocal Discovery

         The Government seeks to inspect and copy documents and other items in Dugas’ custody,

possession or control (Docket No. 19, Gov’t Response at 30-31), without any apparent objection

by her. Under Rule 16, the Government is entitled to production of documents in a defendant’s

possession that each defendant intends to use in his own case-in-chief. Defendant Dugas is

reminded of each of her obligations under Rule 16 to produce pursuant to the Government’s

notice for discovery, therefore, the Government’s motion (Docket No. 19, Gov’t Response at 30-

31) if this prosecution survives is granted.

                                          CONCLUSION

         Based upon the above, it is recommended that defendant Tiona Dugas motion (Docket

No. 14) to dismiss the Indictment on speedy trial grounds be granted.

         For a complete record an in the event this recommendation is not accepted, her motion for

a Bill of Particulars (id.) is denied and her motion for discovery (id.) is granted in part, denied

in part as specified above, and the Government’s motion for reciprocal discovery (Docket No.

19, Gov’t Response at 30-31) is granted.



         Pursuant to 28 U.S.C. § 636(b)(1), it is hereby ordered that this Report &

Recommendation be filed with the Clerk of the Court and that the Clerk shall send a copy of the

Report & Recommendation to all parties.

         ANY OBJECTIONS to this Report & Recommendation must be filed with the Clerk

of this Court within fourteen (14) days after receipt of a copy of this Report &




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Recommendation in accordance with 28 U.S.C. § 636(b)(1), Fed. R. Civ. P. 72(b) (effective

December 1, 2009) and W.D.N.Y. Local Civil Rule 72.3(a).

       FAILURE TO FILE OBJECTIONS TO THIS REPORT & RECOMMENDATION

WITHIN THE SPECIFIED TIME OR TO REQUEST AN EXTENSION OF SUCH TIME

WAIVES THE RIGHT TO APPEAL ANY SUBSEQUENT DISTRICT COURT’S

ORDER ADOPTING THE RECOMMENDATIONS CONTAINED HEREIN. Thomas v.

Arn, 474 U.S. 140 (1985); F.D.I.C. v. Hillcrest Associates, 66 F.3d 566 (2d Cir. 1995); Wesolak

v. Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

       The District Court on de novo review will ordinarily refuse to consider arguments, case

law and/or evidentiary material which could have been, but was not, presented to the Magistrate

Judge in the first instance. See Patterson-Leitch Co. Inc. v. Massachusetts Municipal Wholesale

Electric Co., 840 F.2d 985 (1st Cir. 1988).

       Finally, the parties are reminded that, pursuant to W.D.N.Y. Local Civil Rule 72.3(a)(3),

“written objections shall specifically identify the portions of the proposed findings and

recommendations to which objection is made and the basis for such objection and shall be

supported by legal authority.” Failure to comply with the provisions of Rule 72.3(a)(3) may

result in the District Court’s refusal to consider the objection.

       SO ORDERED.
                                                                /s/ Hugh B. Scott
                                                                    Hon. Hugh B. Scott
                                                             United States Magistrate Judge

Dated: Buffalo, New York
       May 14, 2013




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